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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


         IN RE: JOHNSON & JOHNSON                     MDL No. 16-2738 (MAS) (RLS)
         TALCUM POWDER PRODUCTS
         MARKETING, SALES PRACTICES,
         AND PRODUCTS LIABILITY                      THIS DOCUMENT RELATES
         LITIGATION                                  TO ALL CASES



         PLAINTIFFS’ STEERING COMMITTEE’S REPLY IN SUPPORT OF
                  MOTION FOR RECONSIDERATION OF THE
              COURT’S MARCH 27, 2024 TEXT ORDER PROVIDING
                FOR A FULL REFILING OF DAUBERT MOTIONS

           Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”),

    respectfully submit this Reply Memorandum in Support of their Motion for

    Reconsideration of the Court’s March 27, 2024 Text Order (Dkt. No. 30260) that

    provides for a “full refiling of Daubert motions” in this case.

    I.     Defendants’ Own Opposition Supports Plaintiffs’ Argument That a
           Streamlined Daubert Process Focused On New Experts And New
           Opinions Is Appropriate, Not A Full Refiling Of All Daubert Motions.

           While Defendants say they agree that a full refiling of Daubert on every

    expert issue is necessary, their own language in their Opposition brief belies that

    assertion: “Defendants have a fundamental right to challenge these new opinions

    and the experts’ treatment of the new scientific data discussed in their reports.”

    Defendants’ Opp. at 14 (emphasis supplied). Plaintiffs agree that that the parties

    have the right to challenge new experts and new opinions. Indeed, that is precisely

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    what both parties requested in their letter briefing and argument prior to the

    Court’s March 27, 2024 Text Order, and it is precisely what Plaintiffs request in

    their Motion for Reconsideration.1

           Defendants cannot and do not offer any justification for a full refiling of all

    Daubert Motions, specifically those relating to general causation and biologic

    plausibility. The Court made clear that its 2020 Daubert Order applied “with equal

    force” to any remaining or supplemental Daubert Motions, and specifically noted

    the parties’ agreement that the Court’s ruling with respect to epidemiology and the

    Bradford Hill analyses were binding on all experts who offered such opinions. See

    Exhibit C to Plaintiffs’ Motion for Reconsideration at 1-2. ECF No. 31080-4. All

    Defendants provide in support of a full refiling of Daubert motions is a modest list

    of discrete “new” issues that can be efficiently addressed via a streamlined

    Daubert briefing process to the extent necessary:

        • The “O’Brien 2020” Study: Defendants acknowledge that this study was
          published in January 2020, several months before Judge Wolfson issued her
          April 27, 2020 Daubert Opinion. Defendants certainly could have sought
          leave to submit supplemental briefing about this study in support of their
          Daubert motions at the time, yet they failed to do so. The existence of this
          now four-year-old study does not justify a full refiling of all general
          causation briefing—at most, the parties could be required to submit limited


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     See Plaintiffs’ Proposed Order requesting further Daubert briefing be limited to
    new issues not previously addressed: “newly disclosed experts who employed
    different methodologies than addressed by the prior Daubert Order;” “previously
    disclosed experts not addressed by the prior Daubert Order;” and “expert opinions
    not addressed by the prior Daubert Order.” ECF No. 31080-9.

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          supplemental briefing addressing the study’s impact, or lack thereof, on the
          overall relevant science.

       • Drs. Michele Cote and Bernard Harlow: These general causation experts
         were newly designated by Plaintiffs in 2023, but they employ the same
         methodologies previously accepted by the Court in the 2020 Daubert Order.
         The Court’s 2020 Daubert Order therefore applies with “equal force” to
         their methodologies. See Exhibit C to Motion for Reconsideration. While
         Plaintiffs dispute that there is anything truly “new” presented by these
         experts that would require additional Daubert briefing, this is an issue the
         parties can discuss and potentially present to the Court via streamlined
         Daubert briefing focused on, for example, Drs. Cote’s and Harlow’s
         qualifications.

       • Dr. George Newman: Dr. Newman is a marketing expert disclosed by the
         PSC in 2023. Because he is a new expert on a new issue not addressed in the
         prior Daubert proceedings, Plaintiffs do not oppose Daubert motion practice
         regarding Dr. Newman. There is no dispute here.

       • Dr. Anne McTiernan: Defendants note that epidemiologist Dr. McTiernan
         was excluded in a different MDL in 2022. Plaintiffs dispute that the
         exclusion of Dr. McTiernan in an entirely different case justifies a full re-
         evaluation of her qualifications and methodologies here, when she was
         already carefully examined by the Court during the Daubert hearing and
         accepted. At most, this is a discrete issue that can be addressed via focused
         Daubert briefing if needed. It does not justify or necessitate a full
         resubmission on all epidemiological experts and issues.

       • Dr. William Longo: Defendants argue that Dr. Longo has employed a
         “new” Polarized Light Microscopy analysis of J&J talc samples using a
         method not previously disclosed in this MDL. Dr. Longo’s methodology for
         identifying chrysotile asbestos is well known to Defendants in state court
         litigation. Dr. Longo’s reports, disclosed in November 2023, outline
         additional results of testing Johnson’s Baby Powder and Shower to Shower
         for chrysotile asbestos. In addition, Dr. Longo conducted an exposure
         analysis for each bellwether plaintiff, based on detailed usage information
         not available at the time of the original Daubert briefing. These discrete
         issues can be addressed via focused Daubert briefing if needed. It does not
         justify or necessitate a full resubmission on Drs. Longo’s and Rigler’s work


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          identifying the presence of amphibole asbestos and fibrous talc in J&J talc
          samples which was previously addressed in the Court’s Daubert order.

       • “Expanded” Opinions regarding Bradford Hill, statistical significance,
         and “other scientific concepts”: Defendants fail to cite a single specific
         example of Plaintiffs’ expert epidemiologist’s purported “expanded
         opinions.” Plaintiffs’ experts have not expanded their opinions regarding
         Bradford Hill, statistical significance, etc. Defendants’ vague assertions on
         this point do not justify a full resubmission on all epidemiological experts
         and issues.

          The Daubert briefing submitted in 2019 was voluminous, and touched on

    many issues that are clearly unrelated to and unaffected by the handful of

    purportedly “new” issues described above. Just the number of 1) experts whose

    opinions the Court deferred ruling on in 2020, and 2) experts who have been newly

    disclosed since 2020 is substantial. See Exhibit A to this Reply, List of Plaintiffs’

    Experts (identifying five experts whose Daubert motions were briefed but

    deferred, and five experts disclosed since 2020). Plaintiffs respectfully submit that

    a more limited, streamlined Daubert process is appropriate in these circumstances.

    The parties could negotiate a list of agreed topics to be addressed via Daubert

    practice. To the extent there are any disputed topics, the parties could provide

    competing submissions regarding the disputed topics along with a brief

    explanation as to why Daubert briefing on those topics is or is not needed. The

    parties could then submit Daubert briefing on the discrete agreed and ordered

    topics by the July 23 and August 22, 2024 deadlines previously set by the Court’s

    Text Order.

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    II.   A Streamlined Daubert Process Focused on New Experts and Opinions
          Comports with the Supreme Court’s Instruction that the Amendments
          to Rule 702 be Applied to Pending Cases Only When Just and
          Practicable.

          Defendants argue that a full refiling of Daubert Motions on general

    causation after the Rule 702 amendments took effect is not manifestly unjust

    because it does not constitute an indisputable error of any importance to the

    larger proceedings. Defendants’ Opp. at 13. However, Plaintiffs’ proposed

    streamlined Daubert process comports with the Supreme Court’s instruction

    in its Order adopting the amendments to Federal Rule of Evidence 702.

    Attached as Exhibit A. The Order provides:

          2.     The foregoing amendments to the Federal Rules of Evidence
          shall take effect on December 1, 2023, and shall govern in all
          proceedings thereafter commenced and, insofar as just and
          practicable, all proceedings then pending.

    (emphasis supplied). As Plaintiffs have argued, it would be manifestly unjust to

    require the parties to fully resubmit Daubert briefing on every expert, opinion, and

    issue regardless of whether they can be truthfully characterized as “new” or not

    and when the amendments to Rule 702 were not substantive. The time and

    resources required for such an undertaking are particularly unjustified here where

    the MDL has already been pending for eight years, with two full years lost to

    Defendants’ meritless bankruptcy filings.




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          The Supreme Court’s Order acknowledges this concern by generally limiting

    the application of the Rule 702 amendments to proceedings commencing after

    December 1, 2023. To revisit Rule 702 in an already pending proceeding requires a

    showing that it is “just and practicable” to do so. Courts regularly decline to apply

    amendments to Federal Rules in pending cases where it is not just and practicable.

    See, e.g., Trowery v. O’shea, No. 12-6473 (NLH/AMD), 2015 WL 9587608, at *5,

    fn. 11 (D.N.J. Dec. 30, 2015) (finding it would not be “just and practicable” to

    apply amendments to Federal Rules of Civil Procedure to pending motions fully

    briefed under prior Rules); Fowler v. City of New York, No. 13-cv-2372

    (KAM)(RML), 2015 WL 9462097, at *3 (E.D.N.Y. Dec. 23, 2015) (declining to

    apply amendments to Federal Rules of Civil Procedure); In re Bexar County

    Health Facilities Development Corp., No. MDL 768, 1992 WL 24711, at *2 (E.D.

    Pa. Sep. 25, 1992) (declining to apply amendments to Federal Rules of Civil

    Procedure).

          Even where Courts have recently applied the amendments to Federal Rule of

    Evidence 702 in pending cases, they have done so when the parties’ Daubert

    motions were pending, not when the motions had previously been ruled on by the

    Court. In doing so, the Courts have typically noted that the changes to Rule 702 are

    not substantive in nature and the “result would be the same regardless of whether

    the Court applied the current or prior version of Rule 702.” Perry v. Jenkins &


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    Stiles, LLC, 3:21-cv-414-KAC-JEM, 2024 WL 23359, at *2, n. 2 (E.D. Tenn. Jan.

    2, 2024) (applying 2023 amendments to Rule 702 to pending Daubert briefing not

    previously ruled on) (citing Nash-Perry v. City of Bakersfield, No. 18-cv-01512-

    JLT-CDB, 2023 WL 8261305, at *13 (E.D. Cal. Nov. 29, 2023 (“Regardless, as

    Plaintiffs explicitly acknowledge, the changes are not substantive.”)). See also,

    United States v. Candelaria, No. 22-cr-767-KWR, 2023 WL 8185932, at *1, n. 1

    (D.N.M. Nov. 27, 2023) (applying 2023 amendments to Rule 702 to pending

    Daubert briefing not previously ruled on because trial set to occur after effective

    date, but noting the Court would reach “the same outcome under either formulation

    of FRE 702”); Polk v. General Motors LLC, No. 3:20-cv-549-MMH-LLL, 2024

    WL 326624, at *4, n. 6 (M.D. Fla. Jan. 29, 2024) (applying 2023 amendments to

    Rule 702 to pending Daubert briefing not previously ruled on); Greene v.

    LEDVANCE, LLC, No. 3:21-cv-256-TAV-JEM, 2023 WL 8636962, at *3, n. 1

    (E.D. Tenn. Dec. 13, 2023) (applying 2023 amendments to Rule 702 to pending

    Daubert briefing not previously ruled on); Ziegler v. Polaris Industries, Inc., No.

    23-cv-00112-MR-WCM, 2024 WL 482212, at *2, n. 3 (W.D.N.C. Feb. 7, 2024)

    (applying 2023 amendments to Rule 702 to pending Daubert briefing not

    previously ruled on). See also, Rudd v. General Motors Corp., 127 F.Supp.2d

    1330, 1339 (M.D. Ala. 2001) (applying 2000 amendments to Rule 702 to pending

    motion regarding admissibility of expert testimony); Whatley v. Merit Distribution


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    Services, 166 F.Supp.2d 1350, 1353, n. 2 (S.D. Ala. 2001) (applying 2000

    amendments to Rule 702 to pending evidentiary motions).

           Respectfully, the “just and practicable” standard is not met in this case and

    the Court erred by ordering a full refiling of every Daubert motion previously

    ruled on, particularly where the amendments to Rule 702 are not substantive in

    nature and Defendants cannot identify more than a handful of purportedly “new”

    expert issues for the parties to address.

    III.   Conclusion.

           Plaintiffs respectfully ask the Court to reconsider its Order requiring a full

    refiling of Daubert motions. It is neither just nor practicable to require the parties

    to resubmit briefing on every expert issue that was previously litigated and decided

    when only a limited number of truly “new” issues have arisen in the intervening

    years. Rather than subjecting the parties to the extraordinarily time consuming and

    expensive process of fully relitigating Daubert, Plaintiffs ask that the parties be

    permitted to negotiate and submit a more streamlined docket of truly “new” expert

    issues for the Court’s consideration. The new Daubert briefing could be submitted

    in accord with the July 23 and August 22, 2023 deadlines already set by the Court

    so as not to upset any other aspects of the scheduling order or the timely

    progression of bellwether cases to trial.




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    Dated: April 29, 2024              Respectfully submitted,

                                       /s/ Michelle A. Parfitt
                                       Michelle A. Parfitt
                                       ASHCRAFT & GEREL, LLP
                                       1825 K Street, NW, Suite 700
                                       Washington, DC 20006
                                       Tel: 202-335-2600
                                       mparfitt@ashcraftlaw.com
                                       Plaintiffs’ Co-Lead Counsel

                                       /s/ P. Leigh O’Dell
                                       P. Leigh O’Dell
                                       BEASLEY, ALLEN, CROW, METHVIN
                                       PORTIS & MILES, P.C.
                                       218 Commerce St.
                                       Montgomery, AL 36104
                                       Tel: 334-269-2343
                                       leigh.odell@beasleyallen.com
                                       Plaintiffs’ Co-Lead Counsel

                                       /s/ Christopher M. Placitella
                                       Christopher M. Placitella
                                       COHEN, PLACITELLA & ROTH, P.C.
                                       127 Maple Ave.
                                       Red Bank, NJ 07701
                                       Tel: 732-747-9003
                                       clpacitella@cprlaw.com
                                       Plaintiffs’ Liaison Counsel




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                          CERTIFICATE OF SERVICE

       I hereby certify that April 29, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system which will send

 notification of such filing to the CM/ECF participants registered to receive services

 in this MDL.



                                               Respectfully submitted,


                                               /s/ P. Leigh O’Dell
                                               P. Leigh O’Dell




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